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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO


Civil Action No.

LARRY SUSSBERG, Individually and On
Behalf of All Others Similarly Situated,

                                     Plaintiff,

                        v.
                                                      JURY TRIAL DEMANDED

MOLSON COORS BREWING COMPANY,
MARK R. HUNTER, and TRACEY I.
JOUBERT,

                                  Defendants.

______________________________________________________________________________

        CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                              SECURITIES LAWS
______________________________________________________________________________

       Plaintiff Larry Sussberg (“Plaintiff”) individually and on behalf of all other persons

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

Defendants (defined below), alleges the following based upon personal knowledge as to Plaintiff

and Plaintiff’s own acts, and upon information and belief as to all other matters based on the

investigation conducted by and through Plaintiff’s attorneys, which included, among other

things, a review of Securities and Exchange Commission (“SEC”) filings by Molson Coors

Brewing Company (“Molson Coors” or the “Company”), as well as media and analyst reports

about the Company. Plaintiff believes that substantial evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery.




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                                   NATURE OF THE ACTION

       1.      This is a federal securities class action on behalf of a class consisting of all

persons and entities, other than Defendants and their affiliates, who purchased publicly traded

Molson Coors securities from February 14, 2017 through February 11, 2019, both dates inclusive

(the “Class Period”), seeking to recover compensable damages caused by Defendants’ violations

of federal securities laws and pursue remedies under the Securities Exchange Act of 1934

(the “Exchange Act”).

                                 JURISDICTION AND VENUE

       2.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder (17

C.F.R. § 240.10b-5).

       3.      This Court has jurisdiction over the subject matter of this action pursuant to

Section 27 of the Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331.

       4.      Venue is proper in this judicial district pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b) as the Company’s U.S. headquarters are located

within this District, the Company conducts substantial business in this District, and the alleged

misstatements entered and subsequent damages occurred in this District.

       5.      In connection with the acts, conduct and other wrongs alleged herein, Defendants

either directly or indirectly used the means and instrumentalities of interstate commerce,

including but not limited to the United States mails, interstate telephone communications, and

the facilities of the national securities exchange.




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                                             PARTIES

       6.      Plaintiff, as set forth in the accompanying PSLRA Certification, acquired Molson

Coors securities at artificially inflated prices during the Class Period and was damaged upon the

revelation of the alleged corrective disclosures.

       7.      Defendant Molson Coors manufactures and sells beer and other beverage products

in the United States, Canada, Europe, and internationally.       The Company is a Delaware

corporation. The principal executive offices of the Company’s U.S. segment are located at 1801

California Street, Suite 4600, Denver, Colorado.        During the Class Period, Molson Coors

securities traded on the New York Stock Exchange (“NYSE”) under the ticker symbol, “TAP.”

       8.      Defendant Mark R. Hunter (“Hunter”) has served as the Chief Executive Officer

(“CEO”) and President of the Company since January 1, 2015, and as a director of the

Company’s Board since 2015.

       9.      Defendant Tracey I. Joubert (“Joubert”) has served as Company’s Chief Financial

Officer (“CFO”) since November 17, 2016.

       10.     Defendants Hunter and Joubert are sometimes herein referred to collectively as

the “Individual Defendants.”

       11.     Collectively, Defendant Molson Coors and the Individual Defendants are herein

referred to as “Defendants.”

       12.     Each of the Individual Defendants:

               a.      directly participated in the management of the Company;

               b.      was directly involved in the day-to-day operations of the Company at the

                       highest levels;




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                 c.     was privy to confidential proprietary information concerning the Company

                        and its business and operations;

                 d.     was directly or indirectly involved in drafting, producing, reviewing

                        and/or disseminating the false and misleading statements and information

                        alleged herein;

                 e.     was directly or indirectly involved in the oversight or implementation of

                        the Company’s internal controls;

                 f.     was aware of or recklessly disregarded the fact that the false and

                        misleading statements were being issued concerning the Company; and/or

                 g.     approved or ratified these statements in violation of the federal securities

                        laws.

       13.       Molson Coors is liable for the acts of the Individual Defendants and its employees

under the doctrine of respondeat superior and common law principles of agency as all of the

wrongful acts complained of herein were carried out within the scope of their employment with

authorization.

       14.       The scienter of the Individual Defendants and other employees and agents of the

Company is similarly imputed to Molson Coors under respondeat superior and agency

principles.

                                SUBSTANTIVE ALLEGATIONS
                                            Background

       15.       On October 11, 2016, Molson Coors completed its acquisition of SABMiller plc’s

58% stake in MillerCoors LLC, the joint venture formed in the United States and Puerto Rico by

both companies in 2008.




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                       Defendants’ False and Misleading Class Period Statements

         16.         The Class Period begins on February 14, 2017, when Molson Coors filed a Form

10-K with the SEC, which provided its financial results and position for the fiscal year ended

December 31, 2016 (the “2016 10-K”).                           The 2016 10-K was signed by the Individual

Defendants. The 2016 10-K contained signed certifications pursuant to the Sarbanes-Oxley Act

of 2002 (“SOX”) by the Individual Defendants attesting to the accuracy of financial reporting,

the disclosure of any material changes to the Company’s internal control over financial reporting

and the disclosure of all fraud. The 2016 10-K stated that the Company’s internal control over

financial reporting was effective, excluding the internal control over financial reporting at its

recently acquired stake in MillerCoors LLC.

         17.         The 2016 10-K provided the Company’s consolidated statement of operations,

which reported comprehensive income attributable to Molson Coors as $2.125 billion for the

period covered by the 2016 10-K. The 2016 10-K stated, in relevant part:

                                                                                          For the Years Ended
                                                                       December 31,          December 31,       December 31,
                                                                           2016                  2015               2014
Sales                                                              $           6,597.4 $          5,127.4 $          5,927.5
Excise taxes                                                                 (1,712.4 )           (1,559.9 )        (1,781.2 )
Net sales                                                                     4,885.0              3,567.5           4,146.3
Cost of goods sold                                                           (3,003.1 )           (2,163.5 )        (2,493.3 )
Gross profit                                                                  1,881.9              1,404.0           1,653.0
Marketing, general and administrative expenses                               (1,597.3 )           (1,051.8 )        (1,163.9 )
Special items, net                                                            2,523.9               (346.7 )          (324.4 )
Equity income in MillerCoors                                                   500.9                 516.3             561.8
Operating income (loss)                                                       3,309.4                521.8             726.5
Other income (expense), net
Interest expense                                                               (271.6 )             (120.3 )          (145.0 )
Interest income                                                                  27.2                  8.3              11.3
Other income (expense), net                                                     (29.7 )                0.9              (6.5 )
Total other income (expense), net                                              (274.1 )             (111.1 )          (140.2 )
Income (loss) from continuing operations before income taxes
                                                                              3,035.3                410.7             586.3
Income tax benefit (expense)                                                 (1,050.7 )              (51.8 )           (69.0 )
Net income (loss) from continuing operations                                  1,984.6                358.9             517.3



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Income (loss) from discontinued operations, net of tax                               (2.8 )                         3.9                       0.5
Net income (loss) including noncontrolling interests                              1,981.8                         362.8                    517.8
Net (income) loss attributable to noncontrolling interests                           (5.9 )                        (3.3 )                   (3.8 )
Net income (loss) attributable to Molson Coors Brewing
Company                                                              $            1,975.9         $       359.5              $             514.0

Basic net income (loss) attributable to Molson Coors Brewing
Company per share:
From continuing operations                                               $           9.33             $            1.92          $           2.78
From discontinued operations                                                       (0.01 )                         0.02
Basic net income (loss) attributable to Molson Coors Brewing
Company per share                                                        $            9.32            $            1.94          $           2.78

Diluted net income (loss) attributable to Molson Coors Brewing
Company per share:
From continuing operations                                               $           9.27             $            1.91          $           2.76
From discontinued operations                                                       (0.01 )                         0.02
Diluted net income (loss) attributable to Molson Coors Brewing
Company per share                                                        $            9.26            $            1.93          $           2.76

Weighted-average shares—basic                                                       212.0                         185.3                     184.9
Weighted-average shares—diluted                                                     213.4                         186.4                     186.1
Amounts attributable to Molson Coors Brewing Company
Net income (loss) from continuing operations                             $        1,978.7             $           355.6          $          513.5

Income (loss) from discontinued operations, net of tax                             (2.8 )                           3.9                       0.5
Net income (loss) attributable to Molson Coors Brewing [] $                      1,975.9      $                   359.5      $               514.0

                                                                                                  For the Years Ended
                                                                             December 31,             December 31,                   December 31,
                                                                             2016                          2015                         2014
Net income (loss) including noncontrolling interests                         $        1,981.8             $         362.8 $                  517.8
Other comprehensive income (loss), net of tax:
Foreign currency translation adjustments                                              (234.4 )                     (918.4)                 (849.8 )
Unrealized gain (loss) on derivative instruments                                         9.7                          20.9                    7.0
Reclassification of derivative (gain) loss to income                                    (3.0 )                       (5.4)                    2.3
Pension and other postretirement benefit adjustments                                    62.3                          33.6                 (136.8 )
Amortization of net prior service (benefit) cost and net actuarial (gain)
loss to income                                                                          31.4                          37.5                   26.2
Reclassification of historical share of MillerCoors' AOCI loss                         258.2
Ownership share of unconsolidated subsidiaries' other
comprehensive income (loss)                                                                22.3                       34.3                 (102.2 )
Total other comprehensive income (loss), net of tax                                    146.5                       (797.5)               (1,053.3 )
Comprehensive income (loss)                                                          2,128.3                       (434.7)                 (535.5 )
Comprehensive (income) loss attributable to noncontrolling interests                    (3.0 )                       (2.3)                   (3.8 )
Comprehensive income (loss) attributable to Molson Coors Brewing
Company                                                                      $        2,125.3 $                   (437.0 ) $              (539.3 )




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            18.      On February 14, 2018, Molson Coors filed a Form 10-K with the SEC, which

provided its financial results and position for the fiscal year ended December 31, 2017 (the

“2017 10-K”). The 2017 10-K was signed by the Individual Defendants. The 2017 10-K

contained signed SOX certifications by the Individual Defendants attesting to the accuracy of

financial reporting, the disclosure of any material changes to the Company’s internal control over

financial reporting and the disclosure of all fraud. The 2017 10-K stated that the Company’s

internal control over financial reporting was effective as of December 31, 2017.

            19.      The 2017 10-K provided the Company’s consolidated statement of operations,

which reported comprehensive income attributable to Molson Coors as $2.126 billion for the

period covered by the 2017 10-K. The 2017 10-K stated, in relevant part:


                                                                                    For the Years Ended
                                                                       December 31,   December 31,      December 31,
                                                                           2017             2016            2015
Sales                                      $                                 13,471.5 $        6,597.4 $         5,127.4
Excise taxes                                                                (2,468.7 )       (1,712.4 )        (1,559.9 )
Net sales                                                                    11,002.8          4,885.0           3,567.5

Cost of goods sold                                                          (6,217.2 )       (2,987.5 )        (2,131.6 )
Gross profit                                                                 4,785.6          1,897.5           1,435.9
Marketing, general and administrative expenses                              (3,032.4 )       (1,589.8 )        (1,038.3 )
Special items, net                                                             (28.1 )        2,522.4            (346.7 )
Equity income in MillerCoors                                                       —            500.9             516.3
Operating income (loss)                                                      1,725.1          3,331.0            567.2
Other income (expense), net
Interest expense                                                              (349.3 )         (271.6 )          (120.3 )
Interest income                                                                  6.0             27.2               8.3
Other income (expense), net                                                     (0.1 )          (29.7 )             0.9
Total other income (expense), net                                             (343.4 )         (274.1 )          (111.1 )
Income (loss) from continuing operations before income taxes
                                                                             1,381.7          3,056.9            456.1
Income tax benefit (expense)                                                    53.2         (1,055.2 )          (61.5 )
Net income (loss) from continuing operations                                 1,434.9          2,001.7            394.6
Income (loss) from discontinued operations, net of tax                           1.5             (2.8 )            3.9
Net income (loss) including noncontrolling interests                         1,436.4          1,998.9            398.5
Net (income) loss attributable to noncontrolling interests                     (22.2 )           (5.9 )           (3.3 )
Net income (loss) attributable to Molson Coors Brewing
Company                                                            $          1,414.2 $        1,993.0     $     395.2



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Basic net income (loss) attributable to Molson Coors Brewing
Company per share:
From continuing operations                                             $              6.56 $                 9.41      $           2.11
From discontinued operations                                                          0.01                  (0.01 )                0.02
Basic net income (loss) attributable to Molson Coors Brewing
Company per share                                                      $              6.57 $                 9.40      $           2.13

Diluted net income (loss) attributable to Molson Coors Brewing
Company per share:

From continuing operations                                             $              6.52 $                 9.35 $                2.10
From discontinued operations                                                          0.01                  (0.01 )                0.02
Diluted net income (loss) attributable to Molson Coors Brewing
Company per share                                                      $              6.53 $                 9.34      $           2.12

Weighted-average shares—basic                                                        215.4                 212.0                  185.3
Weighted-average shares—diluted                                                      216.5                 213.4                  186.4
Amounts attributable to Molson Coors Brewing Company
Net income (loss) from continuing operations                           $           1,412.7 $              1,995.8      $          391.3
Income (loss) from discontinued operations, net of tax                                 1.5                   (2.8 )                 3.9
Net income (loss) attributable to Molson Coors Brewing
Company                                                                $           1,414.2 $              1,993.0      $          395.2


                                                                                               For the Years Ended
                                                                               December 31,          December 31,          December 31,
                                                                                   2017                  2016                 2015
Net income (loss) including noncontrolling interests                       $         1,436.4 $             1,998.9 $               398.5
Other comprehensive income (loss), net of tax:
Foreign currency translation adjustments                                               686.7                (234.4 )             (918.4 )
Unrealized gain (loss) on derivative and non-derivative financial
instruments                                                                           (133.4 )                 9.7                 20.9
Reclassification of derivative (gain) loss to income                                     1.3                  (3.0 )               (5.4 )

Pension and other postretirement benefit adjustments                                  145.7                   53.8                 19.3
Amortization of net prior service (benefit) cost and net actuarial
(gain) loss to income                                                                    3.6                  22.8                 16.1
Reclassification of historical share of MillerCoors' AOCI loss                            —                  258.2
Ownership share of unconsolidated subsidiaries' other
comprehensive income (loss)                                                             10.4                  22.3                 34.3
Total other comprehensive income (loss), net of tax                                   714.3                  129.4               (833.2 )
Comprehensive income (loss)                                                          2,150.7               2,128.3               (434.7 )
Comprehensive (income) loss attributable to noncontrolling interests                   (24.7 )                (3.0 )               (2.3 )
Comprehensive income (loss) attributable to Molson Coors Brewing
Company                                                                    $         2,126.0     $         2,125.3 $             (437.0 )




          20.       The statements referenced in ¶¶ 16-19 above were materially false and/or

misleading because they misinterpreted and failed to disclose the following adverse facts




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pertaining to the Company’s business and operations, which were known to Defendants or

recklessly disregarded by them.           Specifically, Defendants made false and/or misleading

statements and/or failed to disclose that: (i) Molson Coors failed to properly reconcile the

outside basis deferred income tax liability for Molson Coors’ investment in its MillerCoors, LLC

partnership; (ii) consequently, Molson Coors misreported net income in its consolidated financial

statements for the fiscal years ending December 31, 2016 and December 31, 2017, resulting in an

overall downward revision to net income; (iii) Molson Coors lacked adequate internal controls

over financial reporting; and (iv) as a result, Defendants’ statements about Molson Coors’

business, operations and prospects were materially false and misleading and/or lacked a

reasonable basis at all relevant times.

                                          The Truth Emerges

       21.     On February 12, 2019, before the market opened, Molson Coors announced that

its “previously issued consolidated financial statements as of and for the years ended December

31, 2017 and December 31, 2016 should be restated and no longer be relied upon.”             The

Company’s announcement stated, in relevant part:

       On February 8, 2019, the Audit Committee of the Board of Directors (the “Audit
       Committee”) of Molson Coors Brewing Company (the “Company”), after
       discussion with management of the Company and PricewaterhouseCoopers LLP,
       the Company’s independent registered public accounting firm, concluded that the
       Company’s previously issued consolidated financial statements as of and for the
       years ended December 31, 2017 and December 31, 2016 should be restated and
       no longer be relied upon.

       As part of preparing its 2018 financial statements, the Company identified
       errors in the accounting for income taxes related to the deferred tax liabilities
       for its partnership in MillerCoors, LLC (“MillerCoors”). Upon the closing of
       the acquisition of the remaining interest in MillerCoors (the “Acquisition”) in
       the fourth quarter of 2016 and completion of the related deferred income tax
       calculations, the Company did not reconcile the outside basis deferred income
       tax liability for the investment in the partnership to the book-tax differences in
       the underlying assets and liabilities within the partnership. As a result of



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       completing this reconciliation as part of preparing its 2018 consolidated financial
       statements, the Company identified a difference related to historical financial
       statements and concluded that the previously issued 2017 and 2016 consolidated
       financial statements were misstated. Accordingly, the Company is restating its
       consolidated financial statements as of and for the year ended December 31,
       2016 to increase its deferred tax liabilities and deferred tax expense by $399.1
       million, with a corresponding decrease in net income and earnings per share.
       The Company’s consolidated financial statements as of and for the year ended
       December 31, 2017 are also being restated to reflect the revaluation of such
       deferred liabilities due to the U.S. Tax Cuts and Job Act of 2017 and to correct
       further insignificant income tax errors resulting in a decrease to deferred tax
       liabilities and deferred tax expense of $151.4 million, resulting in
       corresponding increases to the Company’s net income and earnings per share.
       These adjustments resulted in an aggregate $247.7 million increase to the
       Company’s deferred tax liabilities and corresponding decrease in retained
       earnings and total equity as of December 31, 2017.

                                        *      *       *

       In connection with the restatement, management of the Company has
       determined that a material weakness existed in the Company’s internal control
       over financial reporting as of December 31, 2018 relating to the design and
       maintenance of effective controls over the completeness and accuracy of the
       accounting for and disclosure of the income tax effects of acquired partnership
       interests. Specifically, the Company did not design appropriate controls to
       identify and reconcile deferred income taxes associated with the accounting for
       acquired partnership interests. As a result, the Company’s Chief Executive Officer
       and Chief Financial Officer have concluded that the Company’s disclosure
       controls and procedures were not effective as of December 31, 2018, and the
       Company’s management has concluded that its internal control over financial
       reporting was not effective as of December 31, 2018.

       The Company’s management and the Audit Committee have discussed the
       matters disclosed in this Item 4.02 with the Company’s independent registered
       public accounting firm, PricewaterhouseCoopers LLP.

(Emphasis added.)

       22.     That same day, the Company filed restated consolidated financial statements for

the fiscal years ended December 31, 2016 and December 31, 2017 in the Company’s annual

report for the fiscal year ending December 31, 2018 (the “2018 10-K”). The Company’s 2018

10-K stated, in relevant part:




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       23.    On this news, Molson Coors’ stock price fell $6.17 per share, or 9.44%, to close

at $59.19 per share on February 12, 2019, damaging investors.

       24.    As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s common shares, Plaintiff and other Class members

have suffered significant losses and damages.




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                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

       25.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or

otherwise acquired the publicly traded securities of Molson Coors during the Class Period (the

“Class”); and were damaged upon the revelation of the alleged corrective disclosure. Excluded

from the Class are Defendants herein, the officers and directors of the Company, at all relevant

times, members of their immediate families and their legal representatives, heirs, successors or

assigns and any entity in which Defendants have or had a controlling interest.

       26.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, the Company’s securities were actively traded on

the NYSE. While the exact number of Class members is unknown to Plaintiff at this time and

can be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds

or thousands of members in the proposed Class. Record owners and other members of the Class

may be identified from records maintained by the Company or its transfer agent and may be

notified of the pendency of this action by mail, using the form of notice similar to that

customarily used in securities class actions.

       27.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       28.     Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

Plaintiff has no interests antagonistic to or in conflict with those of the Class.




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       29.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

              (a)     whether Defendants’ acts as alleged violated the federal securities laws;

              (b)     whether Defendants’ statements to the investing public during the Class

                      Period misrepresented material facts about the financial condition,

                      business, operations, and management of the Company;

              (c)     whether Defendants’ statements to the investing public during the Class

                      Period omitted material facts necessary to make the statements made, in

                      light of the circumstances under which they were made, not misleading;

              (c)     whether the Individual Defendants caused the Company to issue false and

                      misleading SEC filings and public statements during the Class Period;

              (d)     whether Defendants acted knowingly or recklessly in issuing false and

                      misleading SEC filings and public statements during the Class Period;

              (e)     whether the prices of the Company’s securities during the Class Period

                      were artificially inflated because of the Defendants’ conduct complained

                      of herein; and

              (f)     whether the members of the Class have sustained damages and, if so, what

                      is the proper measure of damages.

          30. A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually




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redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

        31.       Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

                  (a)    Defendants made public misrepresentations or failed to disclose material

                         facts during the Class Period;

                  (b)    the omissions and misrepresentations were material;

                  (c)    the Company’s securities are traded in efficient markets;

                  (d)    the Company’s securities were liquid and traded with moderate to heavy

                         volume during the Class Period;

                  (e)    the Company traded on the NYSE, and was covered by multiple analysts;

                  (f)    the misrepresentations and omissions alleged would tend to induce a

                         reasonable investor to misjudge the value of the Company’s securities;

                         Plaintiff and members of the Class purchased and/or sold the Company’s

                         securities between the time the Defendants failed to disclose or

                         misrepresented material facts and the time the true facts were disclosed,

                         without knowledge of the omitted or misrepresented facts; and

                  (g)    Unexpected material news about the Company was rapidly reflected in

                         and incorporated into the Company’s stock price during the Class Period.

        32.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        33.       Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State




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of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material

information in their Class Period statements in violation of a duty to disclose such information,

as detailed above.

                                           COUNT I
                Violation of Section 10(b) of The Exchange Act and Rule 10b-5
                                    Against All Defendants

        34.     Plaintiff repeats and re-alleges each and every allegation contained above as if

fully set forth herein.

        35.     This Count is asserted against the Company and the Individual Defendants and is

based upon Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated

thereunder by the SEC.

        36.     During the Class Period, the Company and the Individual Defendants,

individually and in concert, directly or indirectly, disseminated or approved the false statements

specified above, which they knew or deliberately disregarded were misleading in that they

contained misrepresentations and failed to disclose material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading.

        37.     The Company and the Individual Defendants violated Section 10(b) of the 1934

Act and Rule 10b-5 in that they: employed devices, schemes and artifices to defraud; made

untrue statements of material facts or omitted to state material facts necessary in order to make

the statements made, in light of the circumstances under which they were made, not misleading;

and/or engaged in acts, practices and a course of business that operated as a fraud or deceit upon

plaintiff and others similarly situated in connection with their purchases of the Company’s

securities during the Class Period.




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       38.     The Company and the Individual Defendants acted with scienter in that they knew

that the public documents and statements issued or disseminated in the name of the Company

were materially false and misleading; knew that such statements or documents would be issued

or disseminated to the investing public; and knowingly and substantially participated, or

acquiesced in the issuance or dissemination of such statements or documents as primary

violations of the securities laws. These defendants by virtue of their receipt of information

reflecting the true facts of the Company, their control over, and/or receipt and/or modification of

the Company’s allegedly materially misleading statements, and/or their associations with the

Company which made them privy to confidential proprietary information concerning the

Company, participated in the fraudulent scheme alleged herein.

       39.     Individual Defendants, who are the senior officers and/or directors of the

Company, had actual knowledge of the material omissions and/or the falsity of the material

statements set forth above, and intended to deceive Plaintiff and the other members of the Class,

or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

disclose the true facts in the statements made by them or other personnel of the Company to

members of the investing public, including Plaintiff and the Class.

       40.     As a result of the foregoing, the market price of the Company’s securities was

artificially inflated during the Class Period. In ignorance of the falsity of the Company’s and the

Individual Defendants’ statements, Plaintiff and the other members of the Class relied on the

statements described above and/or the integrity of the market price of the Company’s securities

during the Class Period in purchasing the Company’s securities at prices that were artificially

inflated as a result of the Company’s and the Individual Defendants’ false and misleading

statements.




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        41.     Had Plaintiff and the other members of the Class been aware that the market price

of the Company’s securities had been artificially and falsely inflated by the Company’s and the

Individual Defendants’ misleading statements and by the material adverse information which the

Company and the Individual Defendants did not disclose, they would not have purchased the

Company’s securities at the artificially inflated prices that they did, or at all.

        42.     As a result of the wrongful conduct alleged herein, Plaintiff and other members of

the Class have suffered damages in an amount to be established at trial.

        43.     By reason of the foregoing, the Company and the Individual Defendants have

violated Section 10(b) of the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to

the Plaintiff and the other members of the Class for substantial damages which they suffered in

connection with their purchases of the Company’s securities during the Class Period.

                                            COUNT II
                         Violation of Section 20(a) of The Exchange Act
                               Against the Individual Defendants

        44.     Plaintiff repeats and re-alleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

        45.     During the Class Period, the Individual Defendants participated in the operation

and management of the Company, and conducted and participated, directly and indirectly, in the

conduct of the Company’s business affairs. Because of their senior positions, they knew the

adverse non-public information regarding the Company’s business practices.

        46.     As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to the

Company’s financial condition and results of operations, and to correct promptly any public

statements issued by the Company which had become materially false or misleading.




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       47.        Because of their positions of control and authority as senior officers, the

Individual Defendants were able to, and did, control the contents of the various reports, press

releases and public filings which the Company disseminated in the marketplace during the Class

Period. Throughout the Class Period, the Individual Defendants exercised their power and

authority to cause the Company to engage in the wrongful acts complained of herein. The

Individual Defendants, therefore, were “controlling persons” of the Company within the meaning

of Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct

alleged which artificially inflated the market price of the Company’s securities.

       48.        Each of the Individual Defendants, therefore, acted as a controlling person of the

Company.     By reason of their senior management positions and/or being directors of the

Company, each of the Individual Defendants had the power to direct the actions of, and

exercised the same to cause, the Company to engage in the unlawful acts and conduct

complained of herein. Each of the Individual Defendants exercised control over the general

operations of the Company and possessed the power to control the specific activities which

comprise the primary violations about which Plaintiff and the other members of the Class

complain.

       49.        By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by the Company.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.         Determining that the instant action may be maintained as a class action under

Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class

representative;




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       B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by

reason of the acts and transactions alleged herein;

       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: February 21, 2019                           Respectfully submitted,
                                                   POMERANTZ LLP


                                                   /s/ Jeremy A. Lieberman
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2019-02-17 13:50:10


CERTIFICATION PURSUANT TO FEDERAL SECURITIES
LAWS

1. I make this declaration pursuant to Section 27(a)(2) of the Securities Act of 1933 (“Securities Act”) and/or Section 21D(a)(2) of the
Securities Exchange Act of 1934 (“Exchange Act”) as amended by the Private Securities Litigation Reform Act of 1995.

2. I have reviewed a Complaint against Molson Coors Brewing Company (“Molson Coors” or the “Company”) and authorize the filing of a
comparable complaint on my behalf.

3. I did not purchase or acquire Molson Coors securities at the direction of plaintiffs’ counsel or in order to participate in any private action
arising under the Securities Act or Exchange Act.

4. I am willing to serve as a representative party on behalf of a Class of investors who purchased or acquired Molson Coors securities during
the class period, including providing testimony at deposition and trial, if necessary. I understand that the Court has the authority to select the
most adequate lead plaintiff in this action.

5. To the best of my current knowledge, the attached sheet lists all of my transactions in Molson Coors securities during the Class Period as
specified in the Complaint.

6. During the three-year period preceding the date on which this Certification is signed, I have not sought to serve as a representative party on
behalf of a class under the federal securities laws.

7. I agree not to accept any payment for serving as a representative party on behalf of the class as set forth in the Complaint, beyond my pro
rata share of any recovery, except such reasonable costs and expenses directly relating to the representation of the class as ordered or approved
by the Court.

8. I declare under penalty of perjury that the foregoing is true and correct.




Name

Print Name
Larry Sussberg



Acquisitions

Configurable list (if none enter none)
(see attached)




Sales
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 Documents & Message

 Upload your brokerage statements showing your individual purchase and sale orders.
(redacted)


 Signature




 Full Name
 Larry Sussberg
(redacted)
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  Molson Coors Brewing Company (2019) (TAP)                                 Sussberg, Larry

                                     Schedule of Transactions

                                Purchase               Number of           Price Per
           Date                  or Sale               Shares/Unit         Share/Unit

               12/18/2017               Purchase                     300           $81.0399
               12/18/2017               Purchase                     500           $81.0300
               12/18/2017               Purchase                     200           $81.0260
